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Counsel to Plaintiff RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTSERN DISTRICT OF NEW YORK

In re:
                                                           Chapter 11
ROCHESTER DRUG CO-OPERATIVE, INC.
                                                           Case No. 20-20230 (PRW)
                             Debtors.
                                                           (Jointly Administered)


Advisory Trust Group, LLC, as trustee of the RDC
LIQUIDATING TRUST,                                         Adv. Proc. No. 22-02041

                             Plaintiff,

         v.

THERAPEUTICSMD, INC.,

                             Defendant.


                                  NOTICE OF DISMISSAL

         PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, as made applicable herein by Rule 7041 of the Federal Rules of Bankruptcy

Procedure, Plaintiff, Advisory Trust Group, LLC, as trustee of the RDC Liquidating Trust,

hereby dismisses, with prejudice, its Complaint against TherapeuticsMD, Inc. (the “Defendant”)


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in the above-captioned adversary proceeding. The Defendant has not filed an answer, responsive

pleading, or motion for summary judgment in this adversary proceeding.


 Dated: March 1, 2022                           PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ Ilan D. Scharf
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                                                Ilan D. Scharf (NY Bar No. 4042107)
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